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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION

    SYMBOLOGY INNOVATIONS, LLC                       §
                                                     §
            Plaintiff,                               §     CIVIL ACTION NO. 16-cv-2199
                                                     §
    v.                                               §
                                                     §       JURY TRIAL DEMANDED
    DARDEN CORPORATION,                              §
    D/B/A OLIVE GARDEN                               §            LEAD CASE NO.
                                                     §        6:16-cv-2197-PGB-KRS
                                                     §
            Defendant.                               §

                               STIPULATION OF DISMISSAL
            Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), Plaintiff Symbology

    Innovations, LLC (“SI”) and Defendant Darden Corporation hereby stipulate to the

    dismissal, with prejudice, of all claims and counterclaims and causes of action brought in

    this case. Each party shall bear its own costs, expenses, and attorneys’ fees.




                     CERTIFICATE OF GOOD FAITH CONFERENCE

            Undersigned counsel hereby certifies, in accordance with Local Rule 3.01(g), that

    counsel for Plaintiff and for Defendant conferred in good faith and that this request is

    jointly filed.
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     Dated: June 2, 2017              Respectfully Submitted,

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                                      ATTORNEYS FOR PLAINTIFF
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                                 CERTIFICATE OF SERVICE

           I HEREBY CERIFY that on the 2nd day of June, 2017, I electronically filed the

    foregoing with the Clerk of the Court using the CM/ECF system, which will send a Notice

    of Electronic Filing to all counsel of record.

                                                         /s/ Sonia Colon
                                                         Sonia Colon




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